Case 23-11452-MFW   Doc 772-2   Filed 04/09/24   Page 1 of 3




                     EXHIBIT A
                 Case 23-11452-MFW              Doc 772-2         Filed 04/09/24        Page 2 of 3




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    Hartman SPE, LLC,                                         Case No. 23-11452 (MFW)

                        Debtor.1                              Related Docket No.


         ORDER FURTHER EXTENDING THE TIME FOR THE REORGANIZED
        DEBTOR TO FILE NOTICES OF REMOVAL OF RELATED PROCEEDINGS
        PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9006(b)

             Upon consideration of the motion (the “Motion”)2 of the above-captioned debtor, as

reorganized (the “Reorganized Debtor”) in the above-captioned case (the “Chapter 11 Case”)

for an order further extending the period within which the Reorganized Debtor may remove actions

pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of Bankruptcy Procedure, all as

more fully set forth in the Motion; and the Court having jurisdiction over the matters raised in the

Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the

Court may enter a final order consistent with Article III of the United States Constitution; and the

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and the Court having reviewed the Motion; and the Court having

found that the relief requested in the Motion is in the best interests of the Reorganized Debtor and

its creditors and other parties-in-interest; and the Court having found that proper and adequate


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      The Reorganized Debtor in this chapter 11 case, along with the last four digits of its federal tax identification
      number, is Hartman SPE, LLC (7400). The Reorganized Debtor’s principal place of business and service address
      is 2909 Hillcroft, Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the
      United States Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Reorganized
      Debtor’s Claim Agent’s website https://dm.epiq11.com/HartmanSPE.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
                  Case 23-11452-MFW             Doc 772-2      Filed 04/09/24      Page 3 of 3




notice of the Motion and hearing thereon has been given and that no other or further notice is

necessary; and the Court having found that good and sufficient cause exists for the granting of the

relief requested in the Motion after having given due deliberation upon the Motion and all of the

proceedings had before the Court in connection with the Motion; and sufficient cause appearing

therefor,

     IT IS HEREBY ORDERED THAT:

          1.           The Motion is GRANTED as set forth herein.

          2.           The time period provided under Bankruptcy Rule 9027 within which the

Reorganized Debtor may file notices of removal of any and all civil actions is extended through

and including July 9, 2024.

          3.           This Order shall be without prejudice to all rights the Reorganized Debtor holds,

including the right of the Reorganized Debtor to seek further extensions of the period during which it

may remove civil actions pursuant to Bankruptcy Rule 9027.

          4.           The Reorganized Debtor is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

          5.           The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.




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